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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,                                Case No. 16-20008
                                                 Hon. Matthew F. Leitman
v.

JARED PATRICK LOCKWOOD,

     Defendant.
__________________________________________________________________/

     ORDER DENYING DEFENDANT’S MOTION FOR COMPASSIONATE
             RELEASE (ECF No. 53) WITHOUT PREJUDICE

       On September 2, 2020, Defendant Jared Lockwood filed a motion for

compassionate release. (See Mot., ECF No. 53.) The Court held a hearing on the

motion on January 13, 2021. (See Notice of Hearing, ECF No. 60.) For the reasons

explained on the record, the motion is DENIED WITHOUT PREJUDICE.

       IT IS SO ORDERED.


                                    s/Matthew F. Leitman
                                    MATTHEW F. LEITMAN
                                    UNITED STATES DISTRICT JUDGE

Dated: January 13, 2021




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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 13, 2021, by electronic means and/or
ordinary mail.


                                      s/Holly A. Monda
                                      Case Manager
                                      (810) 341-9764




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